4:24-cv-03039-SMB-RCC           Doc # 49     Filed: 02/21/25     Page 1 of 2 - Page ID # 167




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA


ASHLEY SCOGGIN,


                       Plaintiff,                                   4:24CV3039


        vs.
                                                                      ORDER
BOARD OF REGENTS OF THE
UNIVERSITY OF NEBRASKA, AMY
WILLIAMS, in her individual capacity;
TREV ALBERTS, in his individual capacity;
and CHUCK LOVEJR., in his individual
capacity;


                       Defendants.




      This matter is before the Court on Plaintiff’s Motion for Leave to Submit Out of
Time Brief Opposing in Part BRUN’s Motion to Strike Plaintiff’s Jury Demand. (Filing
No. 45). For the reasons stated herein, the motion is denied.

       Defendants BRUN, Trev Alberts, and Amy Williams filed their Motion to Strike
Jury Demand on January 17, 2025. (Filing No. 42). Defendant Love joined the Motion to
Strike on January 20, 2025. (Filing No. 44). Plaintiff’s response was due January 31, 2025.
Because she did not respond, the Defendants did not file a reply brief. The motion became
ripe for court review on February 7, 2025.

       On February 18, 2025, Plaintiff filed her Motion for Leave to submit a response
brief out of time. Plaintiff acknowledges no good cause exists for her request, as required
by Fed. R. Civ. P. 6(b). The court then must determine if Plaintiff’s failure to file constitutes
excusable neglect under Rule 6(b)(1)(B). See Precision of New Hampton, Inc. v. Transtar
4:24-cv-03039-SMB-RCC          Doc # 49     Filed: 02/21/25    Page 2 of 2 - Page ID # 168




Indus., Inc., No. C14–2067, 2015 WL 12911989, at *1 (N.D. Iowa Nov. 30, 2015)
(recognizing that a party who submits an untimely response to a motion for summary
judgment “has the burden of showing it failed” to do so “because of ‘excusable neglect’
and that there is ‘good cause’ to grant its request for extension of time”). Plaintiff
acknowledges that she calendared the due date of her response, but yet still failed to file.
She further states that “there is not a good reason why the undersigned was belated in that
task.” While the court appreciates Plaintiff’s candor, the parties have an obligation to
comply with both the federal rules and local rules of civil practice, and the court must
enforce them. Plaintiff acknowledged the deadline and has not suggested that her failure to
file was due to a matter beyond her reasonable control. Sugarbaker v. SSM Healthcare, 187
F.3d 853, 856 (8th Cir. 1999)(recognizing that whether a party's delay was within its
reasonable control is to be considered in assessing the reasons for the delay). The Court
concludes that Plaintiff failed to demonstrate excusable neglect as required by Rule
6(b)(1)(B).

       Plaintiff’s Motion for Leave to file her brief out of time, Filing No. 45, is denied.

       Dated this 21st day of February, 2025.

                                                  BY THE COURT:

                                                  s/ Ryan C. Carson
                                                  United States Magistrate Judge
